Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 1 of 36




                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                Case No. 1:20-cv-20079-SINGHAL/LOUIS


       BRUCE MUNRO, et al.,

                      Plaintiffs,

       v.

       FAIRCHILD TROPICAL BOTANIC
       GARDEN, INC., et al.,

                      Defendants.


                DEFENDANTS’ 1 JOINT MOTION FOR SUMMARY JUDGMENT
                     AND INCORPORATED MEMORANDUM OF LAW

            Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 56.1, Defendants move
   for the entry of summary judgment in their favor on the entirety of Plaintiffs’ First Amended
   Complaint (DE [69]) (“FAC”). As detailed here, Plaintiffs’ copyright and Digital Millennium
   Copyright Act (“DMCA”) claims fail as a matter of law on several grounds, and there exists no
   genuine dispute as to any material fact. Accordingly, Defendants are entitled to judgment as a
   matter of law. 2
                                           INTRODUCTION

            This case is about Plaintiffs’ attempts to unlawfully monopolize the use of lightbulbs
   with fiber-optic cables in outdoor displays. They proceed even though the U.S. Copyright Office
   recently refused to register one of the very works at issue in this lawsuit because it is a useful
   article and consists of simple, geometric shapes lacking any originality or creativity. And they


   1
       The term “Defendants” excludes Defendant Zhongshan G-Lights Lighting Co., Ltd.
   2
    Pursuant to Local Rule 56.1, Defendants’ joint motion is supported by their Statement of
   Undisputed Material Facts (“SOF”), inclusive of exhibits attached to a Notice of Filing filed
   contemporaneously and the Declarations of Max Painter and of James Slater, also filed
   contemporaneously. Some exhibits are also filed under seal pursuant to this Court’s prior orders.
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 2 of 36




   raise other frivolous claims—such as seeking copyright protection for images or photographs
   they do not own, seeking damages precluded by the Copyright Act, and requesting enforcement
   of a copyright in an idea or concept, among other things. The Court should find summary
   judgment appropriate as to all counts because:

         (a) The DMCA claims must all fail because “knock-offs” are not entitled to protection
             under the DMCA, and Plaintiffs do not own the lights, map or photographs they
             complain about;

         (b) The alleged works are useful articles that constitute unprotectible basic shapes and
             lack any creativity or originality;

         (c) There is no substantial similarity between the parties’ installations because the alleged
             works have no protectable elements to copy, and Defendants cannot be liable for
             copying an idea;

         (d) The individual Defendants as corporate officers cannot be liable for contributory
             infringement as to their own entities; and

         (e) Plaintiffs cannot demonstrate any actual damages and are not entitled to statutory
             damages and attorneys’ fees.

                                            BACKGROUND

          This case concerns purported copyright infringement and DMCA violations brought by
   two United Kingdom Plaintiffs: individual Bruce Munro (“Munro”) and his studio. Plaintiffs are
   not based in Florida or the United States. SOF ¶ 1–2. Despite the meandering FAC (DE [69]) and
   the various irrelevant allegations therein, this case boils down to two basic issues. First, Plaintiffs
   bring a copyright and DMCA claim based on Defendants’ own NightGarden light installations
   (light bulbs and fiber-optic lights) that Plaintiffs contend are “knock-offs” of Munro’s works.
   See, e.g., FAC ¶¶ 78, 149, 154. Second, the DMCA claim is also based on photographs of the
   NightGarden event taken by and/or posted by third-party NightGarden attendees and others.
   SOF ¶ 77; FAC ¶¶ 87, 169. The DMCA claim is further based on a map of the NightGarden and
   the alleged use of certain photographs in internal electronic documents created prior to the
   NightGarden (“pitch decks”), none of which were created or owned by Plaintiffs. FAC ¶¶ 76,
   82-83. There are no issues of material fact that preclude judgment in favor of Defendants on the
   DMCA and infringement claims.




                                                     2
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 3 of 36




          A.      The NightGarden

          The NightGarden was a two-month, outdoor, interactive, immersive event occurring at
   Fairchild Tropical Botanic Garden (“Fairchild”) during the holiday months (November through
   January). See id. at ¶ 78. The first season of NightGarden occurred from November 20, 2018 to
   January 11, 2019. See id.; SOF ¶ 84. It returned for a second season from November 15, 2019 to
   January 11, 2020. FAC ¶ 78; SOF ¶ 85.
          NightGarden was created in partnership between Fairchild, a not-for-profit tropical
   garden located in Miami, Florida, and NightGarden, LLC, via Kilburn Live, a live events
   production company. Max Painter, through his companies, Imaginer Ltd. and later Imaginer, Inc.
   (“Imaginer”) worked with Kilburn Live and Fairchild to develop creative ideas for the project.
   Defendants and their contractors created and built custom light displays to provide a unique
   experience. SOF ¶ 87. They also ordered light components in bulk from Chinese manufacturers
   for the event. SOF ¶¶ 100, 105.
          During the evening event, visitors walked through more than 20 acres of the Fairchild
   gardens on a designated illuminated path, which featured vignettes with a talking tree, spinning
   lights, holographs, and other interactive features. (DE [35], 2); SOF ¶ 86. The event also featured
   music, food trucks, and beverages. Id.

          B.      The NightGarden Mushrooms and Fiber Lights

          Plaintiffs complain that Defendants “exploit[ed] and appropriat[ed] [] multiple sculptural
   artistic works, including, inter alia, Munro’s federally-registered Forest of Light sculptural work,
   and Fireflies, Field of Light, River of Light, Water-Towers, and Brass Monkeys sculptural works
   and series of works” at the NightGarden. FAC ¶ 14. Besides Munro’s federally registered Forest
   of Light at Longwood Gardens work (“Forest Registration”), the remainder of his works are
   alleged unregistered United Kingdom works. FAC ¶¶ 32, 36. 3


   3
     Despite Plaintiffs making clear that this is not about an alleged infringement of selection and
   arrangement of lights or infringement of any particular Munro exhibition, Plaintiffs still
   complain about one work under United Kingdom law that was first “created and exhibited” in
   the United States—Field of Light at Longwood Gardens. FAC ¶ 65; SOF ¶¶ 14, 29–30. Because
   the work was first published in the United States, it is not a United Kingdom work, and therefore
   must be registered with the Copyright Office prior to suit. See Fourth Est. Pub. Benefit Corp. v.
   Wall-Street.com, LLC, 139 S. Ct. 881, 885 (2019) (requiring registration prior to suit); see also
                                                                      (footnote continued on next page)


                                                    3
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 4 of 36




          Despite listing several “works” in the FAC, Plaintiffs actually take issue with two
   items—a stick-and-bulb light and a fiber-optic cable light. The stick-and-bulb lights at the
   NightGarden were generally referred to as “mushrooms” or “mystic mushrooms.” The fiber-
   optic cable lights had no distinguishing name at any time, but for purposes of this Motion will be
   referred to as “fiber lights.” The mushrooms were used in both seasons of the NightGarden, and
   the fiber lights were only used in season two. SOF ¶¶ 97, 102–103. Below are images of the
   NightGarden mushrooms and fiber lights:




                     Mushroom                                           Fiber lights




   Kernel Recs. Oy v. Mosley, 694 F.3d 1294, 1304 (11th Cir. 2012) (explaining a plaintiff’s burden
   to prove a publication occurred abroad to avoid registration). Plaintiffs cannot bring any claims
   on this work for their failure to register it.



                                                    4
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 5 of 36




          Plaintiffs 4 claim that these two lights—used in a small portion of the NightGarden
   event 5—were “knockoffs” or “copies” of Munro’s stick-and-bulb light and fiber-optic light he
   calls Fireflies. 6 SOF ¶ 88; FAC ¶¶ 115, 117, 133, 149–50. Plaintiffs are not claiming that
   Defendants have selected and arranged the lights in the same manner that Plaintiffs have
   displayed Munro’s lights. SOF ¶ 30. Despite disclaiming any selection and arrangement
   similarity between the NightGarden displays and Plaintiffs’ exhibitions, Plaintiffs have also
   testified that they do not consider the lights individually, because every Munro exhibition is a
   “whole” with all lights to be viewed together. SOF ¶ 31. In contradictory fashion, Plaintiffs then
   claim that any use of a single light infringes their copyright, regardless of how they are arranged.
   SOF ¶ 31. Accordingly, per Plaintiffs, no one else—including Defendants—can use such lights
   in their own, unique light displays.

                                             ARGUMENT

          I.      Summary Judgment Standard

          Summary judgment is appropriate when the pleadings, depositions, and affidavits
   submitted by the parties show that no genuine issue of material fact exists, and that the movant is
   entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c). The party seeking summary
   judgment must first identify grounds that show the absence of a genuine issue of material fact.

   4
     Plaintiff Bruce Munro Ltd. (Munro’s studio) does not have sufficient standing to pursue any
   claims associated with this lawsuit. 17 U.S.C. § 501(b) only accords standing to the legal or
   beneficial owner of an “exclusive right” in a copyrighted work. Itar-Tass Russ. News Agency v.
   Russ. Kurier, Inc., 153 F.3d 82, 91 (2d Cir. 1998); Saregama India Ltd. v. Mosley, 635 F.3d
   1284, 1290 (11th Cir. 2011). Neither Plaintiff has established any ownership in the photographs
   allegedly in dispute in this case. For the tangible lights at issue, Munro claims that he is the
   owner of them. See, e.g., FAC ¶¶ 32, 37, 85 (“Munro owns the copyrights in the Munro Works,
   Stemmed Orbs, and Stemmed Spheres.”) Accordingly, Bruce Munro Ltd. does not have standing
   to pursue these claims or recover any damages. Defendants refer to “Plaintiffs” herein for
   brevity.
   5
    For example, the bulbs in NightGarden season 2 were confined to fewer than 2,000 square feet,
   or 0.046 acres, of the more than 20-acre event.
   6
    The light bulb used in Munro’s Forest of Light, Field of Light, and River of Light displays are
   collectively referred to as the “stick-and-bulb light.” Although Plaintiffs give those displays
   different names, there is only one difference—outdoor location placement of the work and how
   Munro feels. SOF ¶¶ 29, 32.



                                                    5
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 6 of 36




   Celotex Corp. v. Catrett, 477 U.S. 317, 323–24 (1986). The burden then shifts to the nonmovant,
   who must go beyond the pleadings and present affirmative evidence to show that a genuine issue
   of material fact does exist. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 257 (1986). A dispute
   is genuine only if “a reasonable trier of fact could return judgment for the non-moving party.”
   Miccosukee Tribe of Indians of Fla. v. United States, 516 F.3d 1235, 1243 (11th Cir. 2008)
   (citing Anderson, 477 U.S. at 247–48). A fact is material if “it would affect the outcome of the
   suit under the governing law.” Id. (citing Anderson, 477 U.S. at 247–48).

          II.     Defendants are Entitled to Summary Judgment on Count III (DMCA).

          With sweeping accusations that lack meaningful detail, Plaintiffs allege in Count III that
   Defendants have “violated Section 1202 of the Digital Millennium Copyright Act [DMCA]” by
   committing “multiple CMI violations.” FAC ¶¶ 175–76. Plaintiffs assert that these violations fall
   into two categories: (a) “false” CMI (which is the subject of § 1202(a)) 7 and (b) “removal” of
   Plaintiffs’ CMI (which is the subject of § 1202(b)). 8 By way of background, “CMI” refers to
   “copyright management information,” which the DMCA defines as “[t]he name of, and other
   identifying information about, the copyright owner of the work, including the information set
   forth in a notice of copyright.” 17 U.S.C. § 1202(c)(3). CMI often appears in a form akin to: ©
   Jane Doe 2020.
          As the wording of the statute reflects (see footnotes 7 and 8)—and as the body of case
   law under the DMCA confirms—this type of statutory claim is quite narrow with specific


   7
     17 U.S.C. § 1202(a) is entitled “False Copyright Management Information” and provides that
   “[n]o person shall knowingly and with the intent to induce, enable, facilitate, or conceal
   infringement (1) provide copyright management information that is false, or (2) distribute or
   import for distribution copyright management information that is false.” (Emphasis added.)
   8
     17 U.S.C. § 1202(b) is entitled “Removal or Alteration of Copyright Management Information”
   provides that “No person shall, without the authority of the copyright owner or the law- (1)
   intentionally remove or alter any copyright management information, (2) distribute or import
   for distribution copyright management information knowing that the copyright management
   information has been removed or altered without authority of the copyright owner or the law, or
   (3) distribute, import for distribution, or publicly perform works, copies of works, or
   phonorecords, knowing that copyright management information has been removed or altered
   without authority of the copyright owner or the law.” That statute further requires that when
   committing such an act, the violator must “know[], or, with respect to civil remedies under
   section 1203, hav[e] reasonable grounds to know, that it will induce, enable, facilitate, or conceal
   an infringement of any right under this title.” (Emphasis added.)


                                                    6
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 7 of 36




   requirements that a plaintiff must prove. To that end, courts are not shy about granting summary
   judgment if any of those requirements lack solid evidentiary support. As explained below,
   Munro has not and cannot present any evidence of record to support even a single requirement of
   either subsection of the statute. No evidence exists that Defendants provided any false CMI, that
   Defendants removed any Munro CMI, or that Defendants possessed the strictly required “double
   scienter” of acting both “knowingly” and with “intent” to aid an infringement. In addition, none
   of the works upon which the DMCA claim rests are original works created by Munro himself (or
   his studio). All the works at issue were created by others—a fact that, standing alone, is fatal to
   any DMCA claim.

          A.       Stringent Requirements of DMCA

          Illustrating how stringent the DMCA requirements are and how vulnerable such claims
   are to summary judgment is Faulkner Press, L.L.C. v. Class Notes, L.L.C., 756 F. Supp. 2d 1352
   (N.D. Fla. 2010)—which has been routinely cited by courts across the country. In Faulkner
   Press, the defendant published a study aid for students called “Einstein’s Notes” that
   incorporated material from the plaintiff’s published textbooks and lecture notes authored by a
   professor at the University of Florida. A DMCA claim was brought alleging that: (a) the
   defendant intentionally “altered or removed” CMI by including in its study aid some material
   that was contained in the plaintiff’s publications and (b) the defendant intentionally published
   false CMI by stamping “Einstein’s Notes (C)” on its study aid. This claim did not survive
   summary judgment.
          First, the court rejected the “removal” argument because the defendant’s own workers
   had prepared their own summaries of the plaintiff’s publications and those summaries are what
   was ultimately included in the “Einstein Notes” product. Id. at 1359. As the court reasoned,
   because the plaintiff’s original work itself was not included in the study aid, the accompanying
   CMI could not be deemed to have been “removed.” Id. at 1359. Second, the court rejected the
   “false” CMI argument outright because the defendant itself had created a new product that was
   different from the plaintiff’s original work and thus it was not “false” to print “Einstein’s Notes”
   on its own product. Id. at 1359–60. Third, the court found that the record failed to support the
   “intent” requirement of the statute. Even though the study aid was based on the plaintiff’s
   publications, the court deemed that study aid to be the defendant’s own “derivative work,” and
   the record contained no evidence demonstrating that the defendant had created it with any “intent


                                                     7
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 8 of 36




   to aid infringement.” Id. at 1360. These very points have been adopted and/or are reflected in a
   string of other DMCA cases, and this wealth of authority collectively reinforces the demanding
   requirements of the statute, including but not limited to the following:
               Actual “Removal” from Plaintiff’s Original Work Is Required. Building on the
   point made in Faulkner Press, the court in Design Basics, LLC v. WK Olson Architects, Inc.,
   2019 WL 527535 (N.D. Ill. Feb. 11, 2019), dismissed a DMCA claim with prejudice because it
   was based on a product that defendant had created itself. Even though the defendant’s product
   did copy certain aspects of the plaintiff’s work, the court concluded there could be no “removal”
   within the meaning of the DMCA unless there was an actual removal of CMI from that work.
   The court explained:
               Plaintiffs claim that [the defendants] violated § 1202 by removing or
               omitting plaintiffs’ CMI from [their] allegedly infringing plans. . . . An
               action for removal of copyright management information requires the
               information to be removed from a plaintiff’s product or original work.
               Here, Plaintiffs do not allege [the defendant] directly reproduced their
               plans without CMI. Instead, they contend that [defendants] copied
               aspects of its original works, with [defendants’] plans appearing
               virtually identical to those of Plaintiffs. Basing a drawing on another’s
               work is not the same as removing [CMI]. . . . [T]he Court dismisses the
               DMCA claim with prejudice because further amendment of the claim
               would be futile.
   Id. at *5 (citations omitted; emphasis added). See also Park v. Skidmore, Owings & Merrill LLP,
   2019 WL 9228987, at *11 (S.D.N.Y. Sept. 30, 2019) (no DMCA violation for “removal” of CMI
   where defendant merely “incorporated the plaintiff’s copyrighted materials into its own work and
   then applied its [defendant’s] name as the author of the work”) (emphasis added).
                “Removal” Cannot Be Based on Mere Failure to Give Attribution. Because a
   CMI “removal” claim under the DMCA requires an affirmative act of removal, it necessarily
   follows that the mere failure to give attribution to someone else does not and cannot suffice. In
   Frost-Tsuji Architects v. Highway Inn, Inc., 2014 WL 5798282 (D. Haw. Nov. 7, 2014), for
   example, the plaintiff complained that the defendant’s work was “virtually identical” to
   plaintiff’s own work and thus violated the CMI “removal” prohibition because it failed to include
   any CMI attributing ownership to the plaintiff. The court disagreed. As the court explained in
   throwing out the DMCA claim on summary judgment, this is not the type of scenario that falls
   within the prohibition of this particular statute. In the Court’s words:



                                                     8
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 9 of 36




               [Defendant’s] possession of floor plans that [plaintiff] says are virtually
               identical to its work does not mean that [defendants] removed or had
               anyone remove [plaintiff’s CMI] from [plaintiff’s] plans. “Virtually
               identical” plans could have been created by redrawing [plaintiff’s]
               plans and not including [plaintiff’s CMI], but that would not involve
               any removal or alteration of [CMI] from [plaintiff’s] original work. …
               Without evidence of removal, [plaintiff] has no viable claim for
               removal of [CMI]. . . . The physical act of removal is not the same as
               basing a drawing on someone else’s work. Reliance on another’s work
               is insufficient to support a claim of removal of [CMI].
   Id. at *5–6 (emphasis added); accord RAZ Imports, Inc. v. Regency Int’l Business Corp., 2020
   WL 4500627 (N.D. Tex. Aug. 5, 2020) (dismissing DMCA claim with prejudice because merely
   failing to give attribution to a plaintiff for images that a plaintiff may own is not the same as
   “removing” a plaintiff’s CMI).
               CMI Must Be Removed from “Body” of Plaintiff’s Original Work. To be
   actionable under the DMCA, the “removal” must relate to CMI that is contained in or right next
   to the “body” of the plaintiff’s original work. That was the very point made in Personal
   Keepsakes, Inc. v. Personalizationmall.com, Inc., 975 F. Supp. 2d 920 (N.D. Ill. 2013), which
   explained that:
               [§ 1202(b)] applies only to the removal of [CMI] on a plaintiff’s
               product or original work – in other words, not simply printed
               somewhere on the website. . . . Such a rule prevents a “gotcha” system
               where a picture or piece of text has no CMI near it but the plaintiff
               relies on a general copyright notice buried elsewhere on the website.
   Id. at 929 (emphasis added; quotation omitted). Simply put, the DMCA “removal” prohibition
   does not kick in if the defendant would have had to go searching around to find the plaintiff’s
   CMI.
               CMI Is Not “False” if it Relates to Defendant’s Own Derivative Work. Relying
   on Faulkner Press, another court in Florida granted summary judgment on a DMCA claim just
   two months ago. In Yellow Pages Photos, Inc. v. Dex Media, Inc., 2021 WL 799695 (M.D. Fla.
   Feb. 3, 2021), the defendant Dex Media included in its own yellow-page directory a series of
   images for which the plaintiff (YPPI) held registered copyrights. At the bottom corner of the
   directory’s cover page, the defendant printed its own CMI: “© 201[_] Dex Media. All rights
   reserved.” The plaintiff claimed that this violated the DMCA. It theorized that the defendant’s
   placement of its own CMI on the directory was “false” because the plaintiff owned the photos
   inside the directory and its CMI was excluded. The court disagreed and entered summary


                                                     9
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 10 of 36




   judgment in favor of Dex Media. In so ruling, the court explained that the directory as a whole
   was a different product than the plaintiff’s photos inside it, that the defendant’s own CMI
   appearing on the cover of the directory was therefore not “false,” and that it was not conveying
   any CMI regarding the images therein. Id. at *7; see also Personal Keepsakes, 975 F. Supp. 2d at
   929 (no § 1202(b) violation because defendant’s placement of its own CMI in its website footer
   is not tantamount to displaying “false” CMI information about specific works or images
   contained on the website).
                DMCA Violation Requires Proof of “Double Scienter.” As an additional ground
   for entering summary judgment, the Dex Media court pointed out that the plaintiff failed to
   present any evidence demonstrating that the defendant had acted “knowingly” and with the
   “intent to induce, enable, facilitate, or conceal infringement”; as the court explained, absence of
   such proof to support this “double scienter” requirement “sounds the death-knell” for the DMCA
   claim. Dex Media, supra, at *7; see generally Krechmer v. Tantaros, 747 Fed. App’x. 6, 9 (2d
   Cir. 2018) (affirming dismissal of DMCA claim for failure to meet the “double scienter
   requirement”). While those authorities arose in the context of § 1202(a), it should be noted that
   the text of § 1202(b) likewise requires proof of a double layer of knowledge—i.e.,
   knowledge/intent as to the CMI removal and knowledge that such removal will “induce, enable,
   facilitate, or conceal an infringement.” See, footnote 8, supra.
          B.       No Evidence to Support DMCA Violation under § 1202(a) or § 1202(b)

          The allegations of the DMCA claim in Count III are nebulous. The following were
   alleged to the be the basis of this claim in the FAC: (1) Defendants’ own bulbs, fiber, and lights
   used in their own NightGarden displays; (2) six specific images that were taken or created by
   individuals other than Munro and used in pre-event internal pitch decks (see DE [69] at Fig. 3, 7,
   8, 10, 15 & 19 R2, C1); and (3) two Defendant-created works—namely, a NightGarden season
   two webpage containing a link to “Buy Tickets” for the NightGarden event, and a one-page
   illustrated map of the season two NightGarden event (see DE [69] at Fig. 38 & 39). 9 None of
   these items are even capable of giving rise to a valid DMCA claim. In this regard:

   9
    Oddly, Plaintiffs also take issue broadly with any Defendant or person—including
   NightGarden attendees—that may have captured his or her own photographs of the
   NightGarden displays and posted them online or on social media, including the use of hash tags.
   FAC ¶¶ 169, 176. There is simply no legal or evidentiary support for these allegations. These
                                                                  (footnote continued on next page)


                                                    10
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 11 of 36




            1.    Bulbs, Fiber, and Lights in NightGarden Displays. There is no dispute that the
   tangible items used in the NightGarden displays were not created by Plaintiffs. SOF ¶ 89. As the
   evidence shows, the mushroom light components were purchased from Alibaba via a
   manufacturer in China, see Declaration of Max Painter ¶ 20-21 (“Painter Decl.”); SOF ¶ 100,
   and fiber lights were purchased the following year from a different manufacturer in China, see
   SOF ¶ 105. Because this category does not involve any of Plaintiffs’ original works at all, there
   can be no valid DMCA claim—as underscored by Faulkner Press, Design Basics, and Frost-
   Tsuji, among others. Indeed, in this context, there could not logically be any “removal” of
   Munro’s CMI, addition of “false” CMI that omits Plaintiffs, or any knowledge thereon, because
   Plaintiffs were not involved in creating or manufacturing those items in the first place. SOF ¶
   89. 10
            2.    Six Images Not Created by Munro. The evidence shows that none of the images
   at issue were taken or created by Plaintiffs, nor did any of them contain Plaintiffs’ CMI. Indeed,
   they were all taken or created by third parties, see SOF ¶¶ 60, 62, 64, 69, 71–73. There are no
   written assignments or work-made-for-hire agreements for any of these works that would
   transfer these third parties’ rights to either Plaintiff. SOF ¶¶ 59, 61, 63, 67–68, 70–75. The only
   written agreement between any photographer and Plaintiffs that has been produced in this action
   only applies to photographs taken after 2018, see SOF ¶¶ 66–67, and all the pitch deck images
   were created prior to 2018. SOF ¶¶ 59, 61, 63, 68, 71–72. 11 Because none of the photographs are


   photographs would depict Defendants’ NightGarden displays, and Plaintiffs have not claimed to
   own any of these photographs. Plaintiffs also have not—and cannot—claim that Plaintiffs’ CMI
   existed on them in any event.
   10
      While not necessary to the analysis, it should be noted that Munro’s own components that
   Plaintiffs install in their own displays do not even contain any CMI, see SOF ¶¶ 41–42, 50–51,
   and as Personal Keepsakes teaches, any CMI that Plaintiffs might have placed elsewhere would
   be irrelevant to any DMCA claim.
   11
     Plaintiffs also obliquely reference “copies of photos of Munro Works” in their count for direct
   infringement, although earlier in the FAC the only allegations related to the pitch decks concern
   DMCA. See FAC ¶ 156. To the extent Plaintiffs claim direct infringement as to the pitch decks
   or other images, that claim must also fail because again, Plaintiffs do not own them, and the
   majority are clearly United States works subject to the requirement that Plaintiffs obtain
   copyright registration prior to commencing suit, per Fourth Estate, 139 S. Ct. at 885; see also
   Kernel Recs. Oy v. Mosley, 694 F.3d at 1304; see, e.g., FAC ¶¶ 98, 105 (including photographs
                                                                     (footnote continued on next page)


                                                    11
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 12 of 36




   Plaintiffs’ original works, Plaintiffs are barred from asserting any DMCA violation thereon
   under the Faulkner Press line of authority discussed above. Moreover, to the extent images were
   located through a Google Images search and then saved into Defendants’ internal “pitch decks,”
   (Painter Decl. ¶¶ 7-9, 11) there is no evidence that any CMI was ever removed from those
   images, no evidence that any false CMI was added to those images, no evidence that Defendants
   had any knowledge about CMI being removed, and no evidence of any intent to aid an
   infringement. As such, all of the required ingredients for a DMCA violation are missing.
          What the evidence does show directly negates the claim. Indeed, the creator of the pitch
   deck confirmed that he never even saw Plaintiffs’ names in connection with any of the images,
   nor did he remove, crop, edit or alter any markings on any image used in the pitch decks. SOF ¶¶
   54–55; Painter Decl. ¶¶ 13–15. The evidence further establishes that the pitch decks were merely
   Defendants’ internal documents which served as background for those working on the
   NightGarden event and they were never disseminated to the public. SOF ¶ 56; Painter Decl. at ¶¶
   7, 11–12. That too cuts directly against the “intent” element for a DMCA violation.
          3.      The “Buy Tickets” Webpage & Map of NightGarden Event. As Plaintiffs readily
   acknowledged, they had no involvement whatsoever in the NightGarden events. As such, photos
   on the NightGarden season two “Buy Tickets” webpage and the map of NightGarden (which
   was created by a third-party contractor working on the event, see SOF ¶ 83), are obviously not
   the original work product of Munro himself. That alone defeats his DMCA claim for the reasons
   discussed above. Again, in such a context, Plaintiffs have not and cannot present any evidence
   that Munro’s CMI was “removed” or that “false” CMI omitting him was added, much less that
   any such (non-existent) acts were done knowingly or with an intent to further an infringement.
          What all these glaring evidentiary deficiencies underscore is that Plaintiffs are pursuing a
   theory of recovery that simply does not fit the facts or law. As the Eleventh Circuit has made
   clear, summary judgment must be entered where the nonmoving party (Plaintiffs here) fails to
   present “specific facts showing there is a genuine issue for trial,” and neither a “scintilla of
   evidence” nor mere “conclusory allegations” suffice. See Johnson v. New Destiny Christian Ctr.


   allegedly taken at Longwood Gardens in Kennett Square, Pennsylvania and Hermitage Museum
   in Norfolk, Virginia); SOF ¶¶ 59, 61, 71–72. See Bateman v. Mnemonics, Inc., 79 F.3d 1532,
   1541 (11th Cir. 1996) (the burden is on Plaintiffs to demonstrate ownership of a valid copyright
   and that the applicable statutory formalities are met).



                                                     12
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 13 of 36




   Church, Inc., 2020 WL 5289881 at *3 (11th Cir. Sept. 4, 2020); Middlebrooks v. Sacor Fin.,
   Inc., 775 Fed. App’x. 594, 596 (11th Cir. 2019). Plaintiffs have not and cannot satisfy their
   evidentiary burden on this record, and Defendants are entitled to summary judgment on Count
   III.

          III.    Defendants are Entitled to Summary Judgment on the Copyright
                  Infringement Claims because Plaintiffs’ Works Are Useful Articles That Are
                  Not Copyrightable.

          Defendants are also entitled to judgment on the copyright infringement claims. To
   establish infringement, Plaintiffs must prove two elements: (1) ownership of a valid copyright,
   and (2) copying of constituent elements of the work that are original. Baby Buddies, Inc. v. Toys
   R Us, Inc., 611 F.3d 1308, 1315 (11th Cir. 2010) (quoting Feist Publications, Inc. v. Rural Tel.
   Serv. Co., 499 U.S. 340, 361 (1991)). Plaintiffs bear the burden to demonstrate prima facie
   evidence of copyright validity and originality of all the Munro works—including Munro’s Forest
   Registration—because that work was not registered within five years of publication and is
   therefore not afforded any presumption of validity under 17 U.S.C. § 410. SOF ¶¶ 4–5, 8; see Bel
   Air Lighting, Inc. v. Progressive Lighting, Inc., No. 1:07-CV-2199-TWT, 2010 WL 966422, at
   *5 (N.D. Ga. Mar. 15, 2010), aff’d sub nom. Progressive Lighting, Inc. v. Lowe’s Home Centers,
   Inc., 549 F. App’x 913 (11th Cir. 2013) (the presumption of validity “merely orders the burdens
   of proof”). Thus, this Court will determine whether, absent the presumption, Munro’s light
   fixtures are entitled to copyright protection. Here, the Court can look to the Copyright Office and
   Plaintiffs’ admissions to conclude that Plaintiffs’ lights are functional and useful articles.
   Further, Plaintiffs are misusing the Forest Registration to assert rights they do not have regarding
   uncopyrightable lights.
          Plaintiffs’ claims fail as a matter of law because Plaintiffs cannot meet the first element
   of establishing copyright infringement: ownership of a valid copyright. Instead, the works are
   useful articles that cannot be protected as valid copyrights. 12 Summary judgment can be granted

   12
      Although the Court previously stated at the dismissal stage that the accused works were
   “protectable under the Copyright Act as sculptures” (DE [65] at 5), now that the Court can turn
   its focus outside the four corners of Plaintiffs’ complaint to view the record evidence, including
   the Copyright Office’s refusal of Munro’s exact stick-and-bulb work, there can be no doubt that
   the accused works are useful articles that cannot be protected by copyright law. See Garden
   Meadow, Inc. v. Smart Solar, Inc., 24 F. Supp. 3d 1201, 1209 (M.D. Fla. 2014) (determining that
                                                                     (footnote continued on next page)


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Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 14 of 36




   on Count I and II on this basis alone.
                  Useful Articles Cannot Form the Basis for a Copyright Claim. Pursuant to the
   Copyright Act, original works of authorship, such as sculptural works, can receive copyright
   protection. See 17 U.S.C. § 102(a). Sculptural works include “two-dimensional and three-
   dimensional works of fine, graphic, and applied art, photographs, prints and art reproductions,
   maps, globes, charts, diagrams, models, and technical drawings, including architectural plans.”
   17 U.S.C. § 101. Protection does not extend, however, to the design of a useful article—“an
   article having an intrinsic utilitarian function that is not merely to portray the appearance of the
   article or to convey information.” See id.
           In fact, the Copyright Act includes a “special rule for copyrighting a pictorial, graphic, or
   sculptural work incorporated into a ‘useful article.’” Alper Automotive, 2020 WL 5514414, at *4
   (quoting Star Athletica, L.L.C. v. Varsity Brands, Inc., 137 S. Ct. 1002, 1008 (2017)). That
   special rule is that a feature incorporated into the design of a useful article is eligible for
   copyright protection only if the feature “(1) can be perceived as a two- or three-dimensional
   work of art separate from the useful article and (2) would qualify as a protectable pictorial,
   graphic, or sculptural work—either on its own or fixed in some other tangible medium of
   expression—if it were imagined separately from the useful article into which it is incorporated.”
   Star Athletica, 137 S. Ct. at 1007. This standard is known as the “separability test.” In applying
   this test, the Court must first “look at the useful article and spot some two- or three-dimensional
   element that appears to have pictorial, graphic, or sculptural qualities,” and then “must determine
   that the separately identified feature has the capacity to exist apart from the utilitarian aspects of
   the article.” Star Athletica, 137 S. Ct. at 1010. If a work satisfies this two-prong separability test,
   then to receive copyright protection it must also be “sufficiently original.” Id. at 1012 n.1.
   Plaintiffs cannot satisfy this test or the originality requirement, as explained below.




   it is more appropriate to address whether the plaintiff’s work is protected “at the summary
   judgment stage of the proceedings when it has the benefit of additional evidence”).



                                                      14
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 15 of 36




          A.      The U.S. Copyright Office Refused to Register Munro’s Stick-and-Bulb
                  Light.

          Plaintiffs assert protection over two different fiber-optic lights by generally claiming
   Munro’s works are sculptures that constitute “works of authorship.” FAC ¶ 14. 13 Prior to
   bringing the lawsuit, Munro applied for registration of his stick-and-bulb light, but the U.S.
   Copyright Office refused registration. The Copyright Office has now found—twice—that the
   stick-and-bulb light is a useful article and cannot pass the originality requirement under the
   Copyright Act and Star Athletica. SOF ¶¶ 20, 22. Here, the Court can take guidance from the
   Copyright Office as to Munro’s stick-and-bulb application. Norris Industries, Inc. v. Int’l Tel. &
   Tel. Corp., 696 F.2d 918, 922 (11th Cir. 1983) (deference should be given to the Copyright
   Office’s decision to deny registration to a useful article because it had considerable expertise);
   Olem Shoe Corp. v. Wash. Shoe Corp., 591 F. App’x 873, 882 n.10 (11th Cir. 2015) (giving
   Skidmore deference to the Copyright Office’s Compendium definitions because “it is apparent
   that the Copyright Office ‘can bring the benefit of specialized experience to bear on the subtle
   questions in this case’”) quoting United States v. Mead Corp., 533 U.S. 218, 235 (2001)).
   Applying Skidmore deference, courts defer to agency rules and determinations to the extent they
   have the “power to persuade.” See Goodson v. OS Rest. Servs., LLC, No. 5:17-CV-10-OC-
   37PRL, 2017 WL 1957079, at *3 (M.D. Fla. May 11, 2017) (outlining the factors under
   Skidmore v. Swift Company, 323 U.S. 134 (1944) and its progeny). The Eleventh Circuit in
   Norris appears to apply at least Skidmore deference to its decision to rely on the Copyright
   Office’s determination that a work is an uncopyrightable useful article—referencing the
   Copyright Office’s “considerable experience.” Norris, 696 F.2d at 922; see also Varsity Brands,
   Inc. v. Star Athletica, LLC, 799 F.3d 468, 479 (6th Cir. 2015) (noting that it is unsurprising the
   Norris court did not label its deference because it preceded the decision in Chevron U.S.A. Inc. v.
   Natural Resources Defense Council, Inc., 467 U.S. 837 (1984)). 14
          In applying the separability test, the Copyright Office found, when viewing only the
   extracted features, that all that remains are “basic and familiar shapes that are not subject to


   13
     As discussed in more detail below, Munro also seeks protection for the “essence,” concept, or
   “spirit” contained in his works. SOF ¶ 31. But an idea, concept, or process can never be
   protected by copyright law. 17 U.S.C. § 102(b); Baby Buddies, 611 F.3d at 1317 (noting that to
   protect a “basic combination of features [depicting a bear] would in effect give [the plaintiff]
                                                                   (footnote continued on next page)


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Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 16 of 36




   copyright protection.” SOF ¶ 21-22 (citing 37 C.F.R. §201.1(a)). 15 In doing so, the Copyright
   Office relied on its Compendium and case law supporting the conclusion that “standard designs
   and shapes” even where there are “minor alterations” do not satisfy the creativity requirement
   under Feist. Id. (citing Feist, 499 U.S. at 345). Additionally, the Copyright Office found no
   originality in the selection and arrangement of components, stating that the “configuration of the
   filament” 16 in Munro’s bulbs “is not selected and arranged by the author, but instead, is caused
   by the natural curvatures of the hollow tube and sphere” and therefore unprotectible. SOF ¶ 22.

             B. Munro Admits and the Evidence Shows that His Lights are Functional and Lack
                Originality.

             The Copyright Office was correct in refusing Munro’s stick-and-bulb light. The same
   analysis necessitates finding that Munro’s firefly is an unoriginal useful article as well.
             As for his stick-and-bulb lights, when separated, all that remains are basic shapes,
   unoriginal placement, and functional components. Separated, the components are 1) a simple


   exclusive rights over the very idea of a plastic sculpted teddy bear, which is expressly precluded
   under the copyright laws”); see also Lanard Toys Ltd. v. Dolgencorp LLC, 958 F.3d 1337, 1346
   (Fed. Cir. 2020) (employing Eleventh Circuit law to conclude as a matter of law that the plaintiff
   was impermissibly seeking to assert protection over any and all expressions of the idea of a chalk
   pencil holder).
   14
     Since Norris, other circuits have applied Skidmore deference to the opinions of the Copyright
   Office or questioned whether the more deferential Chevron deference would apply instead. See,
   e.g., Varsity Brands, 799 F.3d at 479 (holding that Skidmore deference applied to Copyright
   Office opinions); Inhale, Inc. v. Starbuzz Tobacco, Inc., 755 F.3d 1038, 1041–42 & n.2 (9th
   Cir.2014) (same); but see Alaska Stock, LLC v. Houghton Mifflin Harcourt Publ’g Co., 747 F.3d
   673, 685 n.52 (9th Cir. 2014) (not deciding which deference applied but accepting the Copyright
   Office’s opinion under the less stringent Skidmore test); Southco, Inc. v. Kanebridge Corp., 390
   F.3d 276, 287 (3d Cir. 2004) (same).
   15
     Basic shapes, symbols, or designs are not protectable by copyright law. See Yankee Candle
   Co., Inc. v. Bridgewater Candle Co., LLC, 259 F.3d 25, 35 (1st Cir. 2001) (no protection for
   rectangular shapes); Atari Games Corp. v. Oman, 979 F.2d 242, 247 (D.C. Cir. 1992) (“We do
   not in any way question the Register’s position that ‘simple geometric shapes and coloring alone
   are per se not copyrightable.’”); Kitchens of Sara Lee, Inc. v. Nifty Foods Corp., 266 F.2d 541,
   545 (2d Cir. 1959) (circular, rectangular, and octagonal shapes not protected); William S. Geiger
   Corp. v. Gigi Accessories, Inc., No. 97 Civ. 5034(JSM), 1997 WL 458668, at *2 (S.D.N.Y.
   Aug.11, 1997) (plaintiff has no right to copyright a geometric shape).
   16
        The word “filament” is used herein to describe a simple, fiber-optic cable.



                                                      16
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 17 of 36




   tube shape, 2) a simple bulb shape, and 3) fiber-optic cable filament; the connector collars and
   ground stake are purely functional and cannot exist independently. SOF ¶ 33; see Baby Buddies,
   611 F.3d at 1317 (finding a tether connecting the pieces to clothing inseparable from the article
   and therefore not entitled to copyright protection); Norris Indus., 696 F.2d at 924 (giving
   deference to the Copyright Office that wire wheel covers were “not superfluous ornamental
   designs, but functional components” that could not be afforded protection). The stick-and-bulb is
   a clearly functional and unoriginal work:




                                     Munro’s stick-and-bulb light


            Plaintiffs admit that the grommet to connect the bulb and stem is functional and
   inseparable, as they select the type of grommet based on the weather and environment where the
   light will be displayed. SOF ¶ 34; see Brandir Int’l, Inc. v. Cascade Pac. Lumber Co., 834 F.2d
   1142, 1147–48 (2d Cir. 1987) (denying copyright protection to a purported artistic bike rack as
   there were “design changes made in response to functional concerns.”). Plaintiffs also cannot
   refute that the sticks and bulbs are basic shapes that cannot be protected by copyright law. 37
   CFR § 202.1(a). The parts are shapes that are bulk-ordered from third parties, and Plaintiffs
   select sizes and specifications to ensure that the pieces fit together when assembling them. SOF
   ¶¶ 38–39. Munro also admits that his stick-and-bulb lights lack the creativity required under Star
   Athletica and Feist, because when deploying his stick-and-bulb configurations, Munro’s staff
   and various volunteers insert the lighting filament into the bulbs until it naturally stops. SOF ¶¶
   36–37.



                                                    17
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 18 of 36




           As for Munro’s firefly light, the analysis is the same. The light is constituted from fiber-
   optic cable, a copper tube, and turned brass connectors. SOF ¶ 44. Like the stick-and-bulb light,
   the component parts are bulk ordered from third parties. SOF ¶ 45. The filament is put through
   an aperture (hole) in the tube and connector to create the tree-like shape. SOF ¶ 47. Separated,
   the components are 1) a simple copper tube shape and 2) fiber-optic cable filament. The
   connector (collar) piece and ground stake are purely functional and cannot exist independently.
   See Baby Buddies, 611 F.3d at 1317. As set forth above, a copper tube separately is not capable
   of copyright protection because it is a simplistic geometric shape. Similarly, simple fiber-optic
   cable—purchased from a third party in bulk—does not meet any originality requirement. Further,
   the insertion of the filament through the tube until it naturally falls does not meet the
   creativity/originality requirement. The light is clearly an unprotectible useful article:




                                             Munro’s Fireflies

           This case is factually analogous to Bel Air Lighting, in which the court held that light
   fixtures were useful articles that were not sufficiently original to warrant copyright protection.
   Bel Air Lighting, 2010 WL 966422, at *3. 17 There, the plaintiff had argued that its designs were
   original because of the creative way they were suggestive of a fleur de lis. Id. at *4. The court
   found that the plaintiff had not, however, argued that any individual element separated from the
   overall arrangement was original. Id. The court gave deference to the Copyright Office, which
   had initially rejected plaintiff’s registration on originality and creativity grounds. Id. There, like


   17
     While Bel Air and Norris predate Star Athletica, those cases are referenced herein to direct the
   court to the copyright office deference and originality analysis conducted after separability and
   are not used to suggest a distinction between physical/conceptual separability, a distinction that
   Star Athletica later deemed “unnecessary.” Star Athletica, 137 S. Ct. at 1016.


                                                     18
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 19 of 36




   here, the functional use was threading a filament to create a light source. Relying on Norris, the
   court noted separability does not extend to functional components. Id.
          Here, Munro does not even make artistic design choices to his light fixtures; his staff, or
   volunteers at exhibition sites push the filament into the basic geometric shapes until it naturally
   stops (stick-and-bulb lights) or hangs down (fireflies). SOF ¶¶ 36–37, 47. As Nimmer on
   Copyright aptly concludes, “[a]rtistic skill, rather than physical or manufacturing skill, is
   required in order to satisfy the originality requirement.” 1 NIMMER ON COPYRIGHT § 2.01[A][1]
   (2019). Further, the design choices are purely functional; like in Brandir, Munro changes
   components to reflect weather and environmental differences of the areas he displays his lights.
   SOF ¶ 34. These lights cannot be original works of authorship subject to copyright protection.

          C. Plaintiffs’ Claims Are Barred.

          Because Plaintiffs cannot satisfy their prima facie case of copyright infringement to the
   stick-and-bulb light and fireflies, summary judgment should be entered on Counts I and II. As an
   additional ground, the Court can also find summary judgment on Defendants’ defenses of
   copyright misuse and invalidity as to Munro’s Forest Registration. (DE [92]).
          Copyright misuse prohibits a copyright holder from using a copyright “to secure an
   exclusive right or limited monopoly not granted by the [Copyright] Office and which it is
   contrary to public policy to grant.” Home Design Servs., Inc. v. Park Square Enterprises, Inc.,
   No. 6:02-CV-637-ORL28JGG, 2005 WL 1027370, at *11 (M.D. Fla. May 2, 2005) (quoting
   Alcatel USA, Inc. v. DGI Techs., Inc., 166 F.3d 772, 792 (5th Cir. 1999)). A copyright misuse
   defense functions as “an absolute bar on recovery for copyright plaintiffs who have attempted to
   extend their limited rights to ‘property not covered by the . . . copyright.’” Id. (quoting
   Lasercomb Am., Inc. v. Reynolds, 911 F.2d 970, 972 (4th Cir. 1990). A classic misuse is to assert
   rights in non-copyrightable materials to discourage others from integrating these non-protectable
   materials into their own creative works. Id. at *12. Here, Plaintiffs are asserting rights in the
   stick-and-bulb lights and fireflies to impermissibly seek copyright protection over non-
   copyrightable subject matter. This includes continuing to seek protection over the stick-and-bulb
   light despite the U.S. Copyright Office’s refusal to register it. See SOF ¶¶ 15–26; See Home
   Design, 2005 WL 1027370, at *12); Design Basics, LLC v. Petros Homes, Inc., 240 F. Supp. 3d
   712, 720 (N.D. Ohio 2017).



                                                    19
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 20 of 36




          As to the Forest Registration specifically, Plaintiffs are misusing Munro’s registration to
   claim infringement of any stick-and-bulb light, despite the copyright office rejecting same. SOF
   ¶ 20–22. It strains credulity to view the Forest Registration as a registration of the stick-and-bulb
   light where the deposit images depict multiple stick-and-bulb lights and list the dimensions as “6
   acres (approx.).” SOF ¶¶ 9–11, 13. Compare that registration with Munro’s rejected stick-and-
   bulb application for a single “object,” where the deposit images list the dimensions as “sphere:
   60 mm diameter, stem: 400, 600, or 800 mm, filament: 4 to 12 m.” SOF ¶¶ 15–17, 25. Clearly,
   the Copyright Office believed that the Forest Registration was for a specific, large arrangement
   of many lights at Longwood Gardens. SOF ¶¶ 24–25 (correspondence with the Copyright Office
   clarifying scope of rejected stick-and-bulb application). Plaintiffs’ attempts to claim protection
   and infringement for the stick-and-bulb light constitutes copyright misuse. And to the extent
   Plaintiffs continue to claim the Forest Registration protects the stick-and-bulb light, the
   registration is invalid for lack of copyrightable subject matter as discussed above. See, e.g., Bel
   Air Lighting, 2010 WL 966422, at *3 (affirming summary judgment by accepting defendant’s
   invalidity defense that the plaintiff’s light fixtures were not copyrightable); Baby Buddies, 611
   F.3d at 1316 (quoting Feist, 499 U.S. at 348) (the “mere fact that a work is copyrighted does not
   mean that every element of the work may be protected.”).
          In sum, because Munro’s stick-and-bulb lights and fireflies are useful articles and are
   familiar shapes that lack sufficient originality and creativity, Defendants are entitled to summary
   judgment as a matter of law. Further, because the Forest Registration is not afforded the
   presumption of validity, 18 the Court should find that Plaintiffs cannot meet their burden to
   demonstrate ownership of a valid copyright in that work. There is no original authorship for the
   reasons stated above, and Plaintiffs are attempting to extend a registration improperly and misuse
   their purported copyright. See Copyright Office Refusal, SOF ¶ 21 (“this work does not contain
   sufficiently creative authorship either in the component elements or in the selection and
   arrangement of the component elements and registration must be refused.”). For all these
   reasons, the Court should grant summary judgment on Counts I and II in favor of Defendants.


   18
     The Court can also find that the Forest Registration is not entitled to a presumption of validity
   as a matter of law. Habersham Plantation Corp. v. Art & Frame Direct, Inc., No. 10-61532-CIV,
   2011 WL 4005454, at *3 (S.D. Fla. Sept. 8, 2011) (granting summary judgment on no
   entitlement to presumption of validity).



                                                    20
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 21 of 36




          IV.     Defendants are Entitled to Summary Judgment because Defendants Have
                  Not Copied Any Protected Elements of Munro’s Useful Article Works.

          Because this Court can easily conclude that the lights at issue are useful articles and
   Plaintiff is unable to prove the first element of copyright infringement, a substantial similarity
   analysis is unnecessary. Even if, arguendo, Plaintiffs can prove that Munro has valid copyrights
   in his stick-and-bulb light and/or firefly, they must also prove the second element - that
   Defendants copied the protectable elements of them, which they cannot do. See Feist, 499 U.S.
   at 361. To satisfy this element, Plaintiffs have to prove two separate inquiries: “1) whether the
   defendant, as a factual matter, copied portions of the plaintiff’s work, and 2) whether, as a mixed
   issue of fact and law, those elements of the work that have been copied are protected expression
   and of such importance to the copied work that the appropriation is actionable.” Cortes v.
   Universal Music Latino, 477 F. Supp. 3d 1290, 1295–96 (S.D. Fla. 2020) (citing MiTek
   Holdings, Inc. v. Arce Eng’g Co., 89 F.3d 1548 (11th Cir. 1996)) (citations and brackets
   omitted); see also Compulife Software Inc. v. Newman, 959 F.3d 1288, 1301 (11th Cir. 2020).
   Plaintiffs also fail on both of these grounds.
          Factual copying may be established either directly or indirectly. Cortes, 477 F. Supp. 3d
   at 1296. It requires evidence that all or part of the protected work was actually copied to a
   meaningful degree. Lifetime Homes, Inc. v. Walker Homes, Inc., 485 F. Supp. 2d 1314, 1320
   (M.D. Fla. 2007), aff’d, 270 F. App’x 811 (11th Cir. 2008). Direct evidence of copying rarely
   exists. Thornton v. J Jargon Co., 580 F. Supp. 2d 1261, 1274 (M.D. Fla. 2008). It typically
   includes evidence of an express admission by the alleged infringer that he or she copied the
   purported protected work. Id. Here, there is no such admission or direct evidence. To be sure,
   Defendants did not order any lights from Munro; all the NightGarden lights at issue were
   ordered from China prior to season one (mushrooms); and season two (fiber lights). SOF ¶¶ 100,
   105. Defendant Imaginer, who worked with Kilburn Live to order one set of mushroom lights,
   had never heard of Munro or his works. SOF ¶ 95. And as stated below, Defendants did not
   know of Munro or his exhibits prior to NightGarden commencing. Accordingly, Plaintiffs will
   have to prove indirect copying.
          To establish indirect copying, Plaintiffs must establish (1) that the defendant had access
   to the allegedly infringed material; and (2) that the defendant’s work is substantially similar to




                                                    21
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 22 of 36




   the plaintiff’s copyrighted expression. See, e.g., John Alden Homes v. Kangas, 142 F. Supp. 2d
   1338, 1344–45 (M.D. Fla. 2001) (finding no substantial similarity).
          To demonstrate access, Plaintiffs must show that Defendants had a reasonable
   opportunity to view Munro’s work, not just the mere possibility to view it. Dream Custom
   Homes, Inc. v. Mod. Day Const., Inc., 773 F. Supp. 2d 1288, 1302 (M.D. Fla. 2011), aff’d, 476
   F. App’x 190 (11th Cir. 2012). Plaintiffs cannot meet this burden. Kilburn testified that it and its
   CEO Mark Manuel did not know of Munro prior to receiving the cease-and-desist letter about
   Munro’s stick-and-bulb exhibitions, just days before the second season of NightGarden. SOF ¶¶
   90–91. Imaginer and its principal Max Painter testified that they did not know of Munro until
   after this lawsuit was filed, and Painter further testified that he had never been to a Munro
   exhibition. SOF ¶¶ 95–96; Painter Decl. ¶¶ 15–19. Fairchild executive Nannette Zapata testified
   that she realizes now that she had received some correspondence from a Bruce Munro Ltd.
   representative in 2014—years before the NightGarden event—but that she had no recollection of
   that correspondence until receiving the complaint in this lawsuit and searching for the alleged
   2014 correspondence referenced therein. SOF ¶ 94. There is no evidence that any Defendant had
   a reasonable opportunity to view Munro’s works—or specific works at issue—prior to the
   NightGarden.
           No Substantial Similarity Without Protectable Elements.
          To demonstrate substantial similarity, the court must determine whether the protectable
   elements of an original work are substantially similar. Cortes, 477 F. Supp. 3d at 1296 (as to this
   second prong, “copyright protects only the author’s original contributions”) (quoting Feist, 499
   U.S. at 359)). In copyright infringement cases, the Eleventh Circuit has determined that
   substantial similarity can be decided as a matter of law at the summary-judgment stage where,
   like here, the similarity concerns only noncopyrightable elements or when no trier of fact could
   find the works substantially similar. See Intervest Const., Inc. v. Canterbury Estate Homes, Inc.,
   554 F.3d 914, 920 (11th Cir. 2008) (stating that where the dispute concerns substantial similarity
   at the level of protectable expression, it is often more “reliably and accurately resolved” at
   summary judgment); see also Cortes, 477 F. Supp. 3d at 1296 (quoting Lil’ Joe Wein Music, Inc.
   v. Jackson, 245 F. App’x 873, 876 (11th Cir. 2007)). The Eleventh Circuit has “approved of
   deciding infringement prior to trial, observing that it ‘signals an important development in the




                                                    22
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 23 of 36




   law of copyright, permitting courts to put ‘a swift end to meritless litigation’ and to avoid
   lengthy and costly trials.’” Id. (quoting Lil’ Joe Wein Music, 245 F. App’x at 876).
           The term “substantial similarity” has been defined as existing “where an average lay
   observer would recognize the alleged copy as having been appropriated from the copyrighted
   work.” Beal v. Paramount Pictures Corp., 20 F.3d 454, 459 n.4 (11th Cir. 1994) (internal
   citations omitted); Arthur Rutenberg Homes, Inc. v. Maloney, 891 F. Supp. 1560, 1567 (M.D.
   Fla. 1995) (defining ‘average lay observer’ as someone informed and alert to identify precisely
   the differences and similarities in the competing designs). No matter how the copying is proven
   (directly or indirectly), “the plaintiff also must establish specifically that the allegedly infringing
   work is substantially similar to the plaintiff’s work with regard to its protected elements.” Leigh
   v. Warner Bros., Inc., 212 F.3d 1210, 1214 (11th Cir. 2000) (internal citations omitted).
            The Filter Test.
           To conduct this analysis, the court must filter out and disregard the non-protectable
   elements. Cortes, 477 F. Supp. 3d at 1297. Once filtered, the Plaintiff must prove substantial
   similarity as to any remaining protectable material. Id. In filtering, Courts employ extrinsic
   (objective) and intrinsic (subjective) tests to determine substantial similarity. See, e.g., Lil’ Joe
   Wein Music, 245 F. App’x at 877. Plaintiffs must satisfy both tests for a finding of substantial
   similarity. Cortes, 477 F. Supp. 3d at 1297.
           Under the extrinsic test, a court will inquire into whether, as an objective matter, the
   works are substantially similar in protected expression. Cortes, 477 F. Supp. 3d at 1297(“‘the
   court will determine whether [the plaintiff] seeks to protect only uncopyrightable elements,’ and
   if so, the works are not substantially similar as a matter of law, and summary judgment is
   appropriate.”) Similarly, under the intrinsic test, the differences between the works “at the level
   of protectable expression” must be “so significant that no reasonable, properly instructed jury
   could find the works substantially similar. Id.; Miller’s Ale House, Inc. v. Boynton Carolina Ale
   House, LLC, 702 F.3d 1312, 1327 (11th Cir. 2012). Thus, for either test, the Court must first
   filter out unprotectable elements. Compulife Software Inc., 959 F.3d at 1303 (“Filtration, again,
   refers to the process of separating the protectable elements of a copyrighted work from elements
   that, for one reason or another, aren’t protected”).
           To determine whether the protected elements of two works are substantially similar,
   courts compare the components of the works while being mindful that “lists of similarities are



                                                     23
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 24 of 36




   inherently subjective and unreliable, particularly where the lists contain random similarities, and
   many such similarities could be found in very dissimilar works.” Baby Buddies, 611 F.3d at 1316
   (internal quotations omitted). Further, analyzing characteristics, such as the “mood” or
   “combination of elements” can “create[] a danger of unwittingly extending copyright protection
   to unoriginal aspects of the work.” Id. (quoting Leigh v. Warner Bros., Inc., 212 F.3d 1210, 1215
   (11th Cir. 2000)). In other words, the Court does not look at the arrangement or combination of
   all elements of the lights; it must first filter out the non-protectible elements of each light and
   then analyze what remains. Compulife, 959 F.3d at 1306 (after filtration “the burden shifts back
   to the plaintiff to prove substantial similarity between any remaining (i.e., unfiltered) protectable
   material and the allegedly infringing work”). If a defendant demonstrates that the works are
   similar only as to unprotectable material, such as no similarities remain after filtration, summary
   judgment is proper. Cortes, 477 F. Supp. 3d 1290.

          A. Plaintiffs Cannot Satisfy Either Test Because There is No Protectable
             Expression to Copy.

          The Copyright Office correctly found that Munro’s stick-and-bulb light constitutes basic
   geometric shapes incapable of protection and that the stick-and-bulb was not sufficiently original
   or creative—a necessary requirement to demonstrate substantial similarity. SOF ¶ 20–22. See
   Cortes, 477 F. Supp. 3d at 1297 (“After filtering out similarities as to non-protectable elements, a
   side-by-side comparison reveals no commonalities between the works as to any protectable
   elements.”)
          As set forth in more detail above, the record evidence illustrates that Munro’s stick-and-
   bulb components are functional elements ordered in bulk that constitute familiar shapes: sphere
   and circle. Any similarities are related to the non-protectable elements—the circle bulb, basic
   fiber-optic cable that can be purchased anywhere, and a stick/sphere. The spike at the bottom is,
   much like any outdoor landscaping light, simply to place the stick into the ground. SOF ¶ 46.
   After filtering out these non-protectible elements of the stick-and-bulb, there is simply nothing
   left to protect or compare. SOF ¶ 20–22. Further, the application of filament to the bulbs is not
   creative or original because the filament is merely pushed into the bulb to fill the bulb’s natural
   curvature. SOF ¶ 22 (concluding “that these features do not satisfy the originality requirement,
   regardless of whether they are considered individually or as part of the overall design.”)




                                                     24
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 25 of 36




          The same analysis can be applied to the fireflies, which are functional components put
   together to create a small tree-like light. The shapes are basic, common and simplistic and are not
   capable of originality. Any similarities are related to the non-protectible elements – a simple
   sphere/stick shape, and basic fiber-optic cable that can be purchased off the shelf. The spike at
   the bottom is again, simply to place the stick into the ground. SOF ¶ 46. After filtering out these
   non-protectible elements of the firefly light, no protectible expression remains to protect or
   compare. 19 Further, hanging fiber optic cable from a stick does not meet the originality
   requirement. Accordingly, without protectable elements there is no way for Plaintiffs to meet
   their burden and this court can find as a matter of law that there is no substantial similarity.
          Even in the unlikely event that this Court finds that, by itself, a circular bulb, basic fiber-
   optic cable, and tube shape are protectible, there are still distinct differences between Munro’s
   stick-and-bulb light and the NightGarden mushrooms, as well as Munro’s firefly and
   NightGarden fiber light. Where differences in the protectable elements of two works are
   significant, no substantial similarity will be found. See Dream Custom Homes, Inc. v. Modern
   Day Const., Inc., 476 F. App’x. 190, 192 (11th Cir. 2012) (noting that the district court
   appropriately performed the substantial similarity analysis by separating what was protectable
   expression from what was not protectable and by examining the similarities and dissimilarities
   with respect to the protectable elements). The Court must consider the similarities between the
   designs as well as the dissimilarities. Howard v. Sterchi, 974 F.2d 1272, 1276 (11th Cir. 1992).
          There are distinct differences in sizes, materials used, colors and overall look. SOF ¶¶ 38,
   45, 87; see also pp. 4, 17–18, supra. For example, Plaintiffs primarily use frosted bulbs while
   Defendants’ installation used clear bulbs. Compare SOF ¶ 38 (Slater Decl. Ex. J at
   MUNRO1693) with SOF ¶ 101 (Slater Decl. Ex. T at KILBURN154–55). The Plaintiffs’ firefly
   light also uses far fewer fiber optic cable strands with much longer fiber optic cable hanging out
   of the copper tube, while Defendants’ lights—as ordered from China—are mere inches of
   exposed fiber optic cable, gathered tightly together and are attached to green plastic sticks. See
   SOF ¶ 106; pp. 4, 17–18 supra. It is undisputed that Plaintiffs did not participate in the creation,



   19
     There is no analysis of how the lights are arranged in a particular landscape because Plaintiffs
   have claimed that is not at issue here, and have made clear that the layout is different for each
   installation depending on the landscape and that Defendants did not copy the arrangement of any
   of Plaintiffs’ works. SOF ¶ 30.


                                                     25
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 26 of 36




   installation or assembly of the NightGarden installations. SOF ¶ 89. Further, where there are
   only a limited number of ways to illuminate a lightbulb on a stick or use fiber-optics with a stick,
   similarities “can easily occur innocently” and preclude a finding of substantial similarity.
   Miller’s Ale House, 702 F.3d at 1326 (after combining the intrinsic and extrinsic tests,
   determining that no reasonable, properly instructed jury could find the differences between
   sports-bar layouts substantially similar). In such cases, courts will reject similarities that exist on
   a “conceptual level.” Id. at 1327. To the extent there are any protectable elements here, they are
   merely conceptual and limited based on the simplistic nature of the products: round or tree-
   shaped lights on sticks, illuminated by fiber-optics.

          B. Plaintiffs Cannot Protect Ideas.

          Munro is clear that his works are ideas, claiming that Defendants have infringed on the
   “spirit” of his works. SOF ¶ 31. Indeed, it has become clear that Plaintiffs are attempting to
   prevent anyone from using fiber-optic cable lights outdoors. However, to the extent there is any
   originality in putting the shapes and fiber-optic cables together, or placing lights outdoors, those
   concepts or the idea of a certain style are not protectable. See Ale House Mgmt. v. Raleigh Ale
   House, Inc., 205 F.3d 137, 143 (4th Cir. 2000) (the concept of using an island to separate a
   seating area in architectural drawings “is nothing more than a concept, as distinct from an
   original form of expression, and is not copyrightable”) (citation omitted); Wickham v. Knoxville
   Int’l Energy Exposition, Inc., 739 F.2d 1094, 1097 (6th Cir. 1984) (“The ‘idea’ of a tower
   structure certainly is not copyrightable. Ideas are not protected by copyright, only expressions of
   ideas”) (citation omitted).
          Munro testified that he no longer assembles the lights; he instead creates “ideas” that he
   communicates to his team members and volunteers who assemble and install them. SOF ¶¶ 48–
   49. He impermissibly seeks protection of his concept or the process of putting the pieces of the
   lights together (a level of protection applicable to patent law only). See Original Appalachian
   Artworks, Inc. v. Toy Loft, Inc., 684 F.2d 821, 825 n.5 (11th Cir. 1982) (noting that neither the
   idea of a type of doll nor the process of sculpting it was copyrightable). Therefore, assuming for
   argument only some copying occurred, Defendants cannot be found liable for copying a concept,
   idea, or a process.
          The Eleventh Circuit has squarely rejected this type of claim. In Oravec v. Sunny Isles
   Luxury Ventures, L.C., 527 F.3d 1218, 1227 (11th Cir. 2008), for instance, the Eleventh Circuit


                                                     26
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 27 of 36




   found that filtered elements in building design, such as rounded building ends, sloping,
   alternating concave and convex structures, that were dissimilar between the two buildings
   precluded a finding of substantial similarity. The Eleventh Circuit then noted that the district
   court correctly reasoned that a finding of substantial similarity would require a finding that the
   plaintiff “owns a copyright in the concept of a convex/concave formula or in that of using three
   external elevator towers that extend above the roof of a building.” Id. Such a finding would
   “extend the protections of copyright law well beyond their proper scope.” Id. The Eleventh
   Circuit then confirmed were it to reverse the district court’s decision, it would “effectively bar all
   other architects from incorporating these concepts into new and original designs.” Id. at 1228;
   see also Sieger Suarez Architectural P’ship, Inc. v. Arquitectonica Int’l Corp., 998 F. Supp. 2d
   1340, 1353 (S.D. Fla. 2014) (finding no substantial similarity because it “would require a finding
   that [the plaintiff] owns a copyright in a concept, i.e. this flower shape, something the Eleventh
   Circuit has consistently rejected”).
           Here too, Plaintiffs seek protection of an idea or concept that can only be protected by
   patent law, if at all. Munro admits that he creates ideas and others assemble and install the lights
   for him. SOF ¶ 49. And he rarely assembles the works. SOF ¶ 48. The protection Plaintiffs seek
   in the concept of lights on sticks with fiber-optics goes well beyond the proper scope of
   copyright protection and warrants against a finding of substantial similarity.
           In sum, Plaintiffs are attempting to enforce rights they do not have. Even if Plaintiffs
   were attempting to enforce a viable right in the lights, there are no facts to support a finding that
   Defendants had access to Plaintiffs’ lights. The lights have no protectable elements to support
   any finding of copying. Even if there are protectable elements to compare (which there are not),
   there are significant dissimilarities between Munro’s works and the NightGarden installations at
   issue to still conclude as a matter of law that there is no substantial similarity.

           V.      Defendants are Entitled to Summary Judgment on Count II for
                   Contributory Infringement.

           Because Plaintiffs’ direct infringement claim fails, Plaintiffs’ contributory infringement
   claim similarly fails and no further analysis on Count II is necessary. GlobalOptions Servs., Inc.
   v. N. Am. Training Grp., Inc., 131 F. Supp. 3d 1291, 1299 (M.D. Fla. 2015) (“Thus, for a party to
   be held liable for a claim of contributory infringement, there must first be a finding of direct
   infringement”) (citing Peter Letterese & Assocs., Inc. v. World Inst. of Scientology Enters., Int’l,


                                                     27
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 28 of 36




   533 F.3d 1287, 1298 n.11 (11th Cir. 2008). Separately, Plaintiffs’ contributory infringement
   allegations against Defendants Nannette Zapata, Max Painter, and Mark Manuel (collectively,
   the “Individual Defendants”) also fail as a matter of law because officers cannot be held
   secondarily liable for the alleged conduct of their own corporate entities and because the record
   evidence does not demonstrate knowledge of the alleged infringing acts.
          A. Plaintiffs Cannot Hold Corporate Officers Liable for Contributory Infringement.

          Under the Copyright Act, a plaintiff can pursue direct and secondary liability. Metro-
   Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 545 U.S. 913, 930 (2005). “Secondary liability
   applies when a defendant is held responsible for a third party’s acts of infringement.” 43 N.
   Broadway LLC v. Essential Media Grp. LLC, No. 17-24518-CV, 2018 WL 2864014, at *2 (S.D.
   Fla. June 11, 2018) (citing Sony Corp. of Am. v. Universal City Studios, Inc., 464 U.S. 417, 435
   (1984)) (emphasis supplied). Contributory liability is a type of secondary liability. 43 N.
   Broadway LLC, 2018 WL 2864014, at *2 (citing Grokster, 545 U.S. at 930).
          The Eleventh Circuit has stated “the well-settled test for a contributory infringer as ‘one
   who, with knowledge of the infringing activity, induces, causes or materially contributes to the
   infringing conduct of another.’” Hydentra HLP Int. Ltd. v. Luchian, No. 1:15-CV-22134-UU,
   2016 WL 5951808, at *12 (S.D. Fla. June 2, 2016) (quoting Cable/Home Commc’n Corp. v.
   Network Prods., Inc., 902 F.2d 829, 845 (11th Cir. 1990)) (emphasis added). The case law is
   clear, however, that inducing, causing, or materially contributing to the “infringing conduct of
   another” under Cable/Home absolutely does not mean the infringing conduct of one’s own
   company. See 43 N. Broadway, 2018 WL 2864014, at *4 (holding that the officer “must first
   induce third parties . . . to commit activity constituting direct infringement.”). In other words, a
   corporate officer cannot be held contributorily liable for the actions of the corporation he or she
   controls. Id. at *2–4. Simply put, to allege and prove contributory infringement, Plaintiffs must
   also allege and prove the direct infringement of a third party resulting from the Individual
   Defendants’ knowing actions. See id. at *4 (citing Arista Records LLC v. USENET.com, 663 F.
   Supp. 2d 124, 149 (S.D.N.Y. 2009) (“For all three theories of secondary copyright infringement
   [to be valid], there must be the direct infringement of a third party.”)).
          This is not a novel issue. The reasoning in 43 N. Broadway soundly applies here. There,
   the plaintiffs sought to add a contributory infringement claim against the corporate defendant’s
   officers, claiming the officers “intentionally induced, encouraged or materially contributed to


                                                     28
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 29 of 36




   [the corporate defendant’s] direct infringement.” Id. at *1–2. In denying the plaintiffs’ motion to
   amend, the court determined that allowing the amendment would be futile because the individual
   officers and the corporation were “one and the same.” Id. at *3. That is “any actions undertaken
   by the [defendant] corporation’s managers would be directly imputed to [the defendant
   corporation], and a corporation only acts through its officers, employees, or agents.” Id. Thus,
   the court stated, the proposed amendment in 43 N. Broadway was not “and cannot ever be”
   pleaded because the corporate officer’s own entity could not be the “third party direct infringer.”
   Id. (citing also In re Spear & Jackson Securities Litigation, 399 F. Supp. 2d 1350, 1361 (S.D.
   Fla. 2005) for the proposition that “[c]ourts have uniformly held that acts of a corporate officer
   that are intended to benefit a corporation to the detriment of outsiders are properly imputed to the
   corporation” (emphasis in original) and United Feature Syndicate, Inc. v. Sunrise Mold Co., Inc.,
   569 F. Supp. 1475, 1480–81 (S.D. Fla. 1983) for the proposition that “[k]nowledge of officers,
   directors, employees and agents of the corporation is imputed to the corporation itself.”).
           Ignoring the law on this point, Plaintiffs contend the following:
             (1)   That Zapata, an officer of Fairchild, “actively and materially controlled, directed,
   participated in, facilitated, and approved the Fairchild NightGarden-related conduct underlying
   the stated claims against Fairchild, and may be held contributorily liable for its NightGarden-
   related activities.” FAC ¶ 81; see also (DE [1] ¶ 78).
             (2)   That Manuel, an officer, “owner, and controlling person” of Kilburn, “actively
   and materially controlled, directed, participated in, facilitated, and approved the [Kilburn
   entities’] NightGarden-related conduct underlying the stated claims against those entities, and
   may be held contributorily liable for those entities’ NightGarden-related activities.” FAC ¶ 82.
             (3)   That Painter, an officer, “owner, and controlling person” of Imaginer “actively
   and materially controlled, directed, participated in, facilitated, and approved all Imaginer conduct
   underlying the stated claims against Imaginer, and may be held contributorily liable for
   Imaginer’s NightGarden-related activities, and Imaginer may be held vicariously liable for
   Painter’s activities.” Id. ¶ 83.
           None of these officers can be contributorily liable for their respective companies’ alleged
   acts. Zapata is Fairchild for purposes of supervisory liability. Manuel is Kilburn. And Painter is
   Imaginer. Under this set of facts, Plaintiffs’ claim that the Individual Defendants should be liable




                                                    29
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 30 of 36




   for contributory infringement is “legally impossible” because the corporate officers and the
   corporate defendants are “one and the same.” 43 N. Broadway, 2018 WL 2864014, at *3.

          B. Plaintiffs Cannot Otherwise Meet the Elements for Contributory Infringement.

          Further, the record evidence demonstrates that none of the Individual Defendants had
   knowledge of the alleged infringing activity. The standard of knowledge for contributory
   infringement is objective: “[k]now, or have reason to know.” 3Lions Publ’g, Inc. v.
   Marketresearch.com, Inc., No. 8:15-CV-356-MSS-JSS, 2015 WL 12843856, at *3 (M.D. Fla.
   Sept. 2, 2015); Casella v. Morris, 820 F.2d 362, 365 (11th Cir. 1987); Grokster, 545 U.S. at
   930–31 (requiring proof of knowledge of a third party’s infringing activity). None of the
   Individual Defendants became aware of any alleged infringing activity until after NightGarden
   season one concluded. SOF ¶¶ 90–95. In November 2019, just four days before NightGarden
   season two opened, Plaintiffs’ counsel sent a cease-and-desist letter to certain defendants. The
   letter only mentioned the arrangement of the stick-and-bulb lights at Plaintiffs’ exhibition sites
   and was silent as to the fiber lights. See SOF ¶ 92 (letter claiming a portion of NightGarden bears
   “uncanny resemblance” to Field of Light).
          Although the test is not related to Individual Defendants’ knowledge of Munro generally,
   Manuel still testified that he did not know of Munro prior to receiving the cease-and-desist letter,
   which was promptly sent to attorneys. SOF ¶¶ 90–91. Zapata testified that she had no
   recollection of Munro prior to receiving the cease-and-desist letter. SOF ¶ 84. Painter testified
   that he did not know of Munro until after this lawsuit was filed and after NightGarden season
   two ended (and he never received a cease-and-desist letter). SOF ¶ 95; Painter Decl. ¶ 19. The
   alleged mushroom and fiber lights were ordered prior to the NightGarden and well before
   Plaintiffs’ November 2019 letter. SOF ¶¶ 100, 105.
          There is no evidence to support that any of these individuals had actual knowledge of the
   alleged infringement; Plaintiffs’ letter only addressed a potential claim for arrangement of lights
   at Plaintiffs’ previous exhibition, which Plaintiffs have disclaimed. SOF ¶¶ 30, 92; see Wolk v.
   Kodak Imaging Network, Inc., 840 F. Supp. 2d 724, 751 (S.D.N.Y. 2012), aff’d sub nom. Wolk v.
   Photobucket.com, Inc., 569 F. App’x 51 (2d Cir. 2014) (knowledge of infringement means
   “actual or constructive knowledge of specific and identifiable infringements of individual items,”
   not “a general awareness that there are infringements”). Nor is there any evidence that any of



                                                   30
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 31 of 36




   these individuals, with knowledge, then “induced, caused or materially contributed to the
   infringing conduct of another.” See id. at 750.

           VI.     Plaintiffs Have Not Proven Any Damages.

           As argued above, because this Court can find as a matter of law that summary judgment
   is appropriate on all Counts, a damages analysis is unnecessary. However, as an additional
   ground, summary judgment is proper because this Court can find that Plaintiffs 1) are not entitled
   to statutory damages, 2) have failed to provide any evidence of actual damages, and 3) have set
   forth no causal connection to NightGarden revenue.
           Plaintiffs’ alleged works at issue comprise of one United States registered work (Forest
   of Light), one United States unregistered work (Field of Light at Longwood Gardens), 20 and
   some unregistered United Kingdom works (exhibitions of the stick-and-bulb light and Munro’s
   “fireflies” light at various locations). For the unregistered foreign works, it is clear that Plaintiffs
   can only recover proven actual damages. See Mosley, 694 F.3d at 1302–03 (citing 17 U.S.C. §§
   412, 504, 505 and noting that owners of foreign works may choose to apply for registration to
   receive the benefits of statutory damages and attorneys’ fees). Likewise, Plaintiffs are not
   entitled to statutory damages on the Forest Registration. Without statutory damages, Plaintiffs
   are only entitled to—if proven—actual damages. Plaintiffs have not set forth any evidence of
   actual damages.

           A.      Plaintiffs are not Entitled to Statutory Damages or Attorneys’ fees on their
                   Direct and Contributory Infringement Claims (Count I and II).

           Generally, a plaintiff who has complied with the registration requirements can elect to
   recover actual or statutory damages, and a court may award reasonable attorneys’ fees under 17
   U.S.C. § 505 subject to the limitations of 17 U.S.C. § 412. However, as briefed in detail in
   Defendants’ Motion for Partial Judgment on the Pleadings (DE [81, 89]), Plaintiffs cannot elect
   statutory damages for the Forest Registration or recover their attorneys’ fees because the alleged




   20
     Plaintiffs cannot recover damages for Field of Light at Longwood Gardens because it was first
   published in the United States and Plaintiffs have provided no evidence to support that it was
   ever registered with the Copyright Office. See also footnote 3, supra (Plaintiffs are not claiming
   infringement of a particular installation).



                                                      31
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 32 of 36




   infringement occurred prior to registration. 21 See Cornerstone Home Builders, Inc. v. McAllister,
   311 F. Supp. 2d 1351, 1352 (M.D. Fla. 2004); see also Derek Andrew, Inc. v. Poof Apparel
   Corp., 528 F.3d 696, 700–01 (9th Cir. 2008) (“Every court to consider the issue has held that
   infringement ‘commences’ for the purposes of § 412 when the first act in a series of acts
   constituting continuing infringement occurs.”); see also Volk v. Zeanah, No. 6:08-CV-94, 2010
   WL 11537582, at *9 (S.D. Ga. Sept. 27, 2010) (for purposes of determining when section 412’s
   bar is triggered, an infringement commences “when the first act in a series of infringements of
   the same kind occurs”).
          NightGarden season one began in November 2018, and the Forest Registration is dated
   August 24, 2019. SOF ¶¶ 8, 84. Contrary to Plaintiffs’ earlier arguments against partial judgment
   on the pleadings (DE [85]), neither redesigns of Defendants’ installations nor the ten-month gap
   between seasons of the NightGarden triggers a new commencement period under section 412.
   See, e.g., New Name, Inc. v. The Walt Disney Co., No. CV 07-5034PA(RZX), 2008 WL5587487,
   at *5 (C.D. Cal. July 23, 2008) (alteration to work does not commence new infringement); Dyer
   v. Napier, No. CIV04-0408 PHX SMM, 2006 WL 680551, at *4 (D. Ariz. Mar. 16, 2006)
   (changes in sizes and texture of sculptures does not start new commencement); U2 Home Entm’t,
   Inc. v. Hong Wei Int’l Trading, Inc., No. 04-CIV-6189JFK, 2008 WL 3906889, at *15 (S.D.N.Y.
   Aug. 21, 2008) (finding that section 412 imposes a bright-line rule that any infringement after
   commencement bars fees and statutory damages); cf. Solid Oak Sketches, LLC v. 2K Games, Inc.,
   No. 16CV724-LTS, 2016 WL 4126543, at *3 (S.D.N.Y. Aug. 2, 2016) (collecting cases that
   have not imposed the bright-line rule in U2 but have found that a gap of one or more years
   between infringing acts does not reinstate the ability to recover statutory damages or fees).
          Accordingly, this Court can find as a matter of law that Plaintiffs are only permitted to
   recover actual damages for alleged direct or contributory infringement for their works. As set
   forth below, Plaintiffs have failed to prove actual damages for all claims.




   21
      The Court did not rule on the merits of Defendants’ motion, but instead held that, in contrast to
   Rule 56(a), Rule 12(c) does not permit adjudication of part of a claim or defense. (See DE [114]
   at 4).



                                                   32
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 33 of 36




          B.      Plaintiffs Have Not Shown Any Evidence of Actual Damages and Claim
                  Improper Measures of Damages.

          The Copyright Act entitles copyright owners to two types of compensatory damages:
   actual damages and infringers’ profits attributable to the infringement to the extent not calculated
   in actual damages. 17 U.S.C. § 504(a)(1), (b); 17 U.S.C. § 1203 (c)(1)-(2). Actual damages may
   include “lost sales, lost opportunities to license, or diminution in the value of the copyright,” or
   “the fair market value of a license covering the defendant’s use.” BWP Media USA Inc. v.
   HipHopzilla, Inc., No. 1:14-CV-0016-AT, 2016 WL 4059683, at *2 (N.D. Ga. May 26, 2016)
   (quoting Gaylord v. United States, 678 F.3d 1339, 1343 (Fed. Cir. 2012)). Here, Plaintiffs have
   not set forth any evidence of actual damages. Instead, Plaintiffs testified that one of those
   measures of damages could be implicated—a loss of unspecific prospective clients—and also
   that emotional and reputational damages are sought. SOF ¶¶ 108–10. 22
          First, as to Plaintiffs’ claims that they have lost clients, they have no evidence to support
   that claim. SOF ¶¶ 111–12. In fact, they unequivocally testified that they have not lost any
   clients or opportunities during the NightGarden or at any time, and no one has cancelled any
   agreements with Plaintiffs. Id. In fact, their evidence supports the opposite conclusion: business
   has increased during the period of alleged infringement by Defendants. SOF ¶ 113; see also
   Montgomery v. Noga, 168 F.3d 1282, 1294 (11th Cir. 1999) (citing Key West Hand Print
   Fabrics, Inc. v. Serbin, Inc., 269 F. Supp. 605, 613 (S.D. Fla. 1966)) (noting that plaintiffs are
   also required to demonstrate a causal connection between their claimed actual damages and the
   alleged infringement). As to the DMCA claims, Plaintiffs do not license photographs they
   actually do own, and have not otherwise produced any evidence of actual damages. SOF ¶ 107.
          Second, “emotional distress and stress-related ailments arising from [a defendant’s]
   alleged infringement” are not compensable under the Copyright Act. Stern v. Does, 978 F. Supp.
   2d 1031, 1050 (C.D. Cal. 2011), aff’d sub nom. Stern v. Weinstein, 512 F. App’x 701 (9th Cir.


   22
     Plaintiffs provided the report of art appraiser X. Twil, who provided an “art valuation”; but the
   “art valuation” explicitly did not conduct an analysis of what the “fair market value of a license
   covering the Defendant’s use” would be. See Motion in Limine to Exclude Plaintiffs’ Damages
   Expert X. Twil from Testifying at Trial (DE [135], p. 12)(filed under seal). Accordingly, there is
   no evidence on this measure of actual damages, either. See Thornton v. J Jargon Co., 580 F.
   Supp. 2d 1261, 1277 (M.D. Fla. 2008) (granting summary judgment for failure to provide
   evidence of actual damages).



                                                    33
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 34 of 36




   2013); See also Kelley v. Universal Music Grp., No. 14 CIV. 2968 PAE, 2015 WL 6143737, at
   *7 (S.D.N.Y. Oct. 19, 2015) (same). Similarly, the Copyright Act does not explicitly provide for
   reputational damages. Viktor v. Top Dawg Ent. LLC, No. 18 CIV. 1554 (PAE), 2018 WL
   5282886, at *3 (S.D.N.Y. Oct. 24, 2018). Some courts have found that nonspeculative evidence
   of reputational diminishment of the works may be recoverable, see id., but Plaintiffs provide no
   such evidence. SOF ¶¶ 108–12.
          Because Plaintiffs have provided no evidence of actual damages, they would only be
   entitled —if proven— to Defendants’ profits attributable to the alleged infringement. But
   Plaintiffs have not proven any nexus between the alleged infringement and any gross revenues of
   Defendants. See, e.g., Ordonez-Dawes v. Turnkey Props., Inc., No. 06-60557-CIV, 2008 WL
   828124, at *3 (S.D. Fla. March 27, 2008) (citing to decisions from the Second, Fourth, Seventh,
   Eighth, Ninth, and Federal Circuits that required a nexus between the gross revenue and
   infringement); Oravec v. Sunny Isles Luxury Ventures L.C., 469 F. Supp. 2d 1148, 1175 (S.D.
   Fla. 2006) (a plaintiff must proffer some reasonable connection between the infringement and
   defendant’s gross revenue); Home Design Servs., Inc. v. Hibiscus Homes of Fla., Inc., No.
   603CV1860ORL19KRS, 2005 WL 3445522, at *14 (M.D. Fla. Dec. 14, 2005) (holding that the
   plaintiff “is required to at least proffer some evidence of a causal connection between the alleged
   infringement of the plans at issue and the home construction profits earned by [the defendant] in
   order to survive summary judgment.”) For example, in season two of the NightGarden,
   Defendants’ mushrooms and fiber lights were confined to a small fraction of the event space.
   SOF ¶¶ 86, 99, 103. The fiber lights were not used in NightGarden season one at all. SOF ¶ 102.
   Yet, Plaintiffs have not attempted to render any causal connection between the alleged infringing
   lights and revenue in either season. SOF ¶¶ 97-99;102-104. Plaintiffs should be barred from
   seeking Defendants’ profits at trial.
          In addition, presumably because they have not suffered any damages and have similarly
   failed to provide any such evidence, Plaintiffs this morning – on the day dispositive motions are
   due – provided some new calculation of actual damages. The Court should enter summary
   judgment in favor of Defendants on Counts I and II for failure to provide any evidence of actual
   damages. See Carlson v. FedEx Ground Package Sys., Inc., No. 8:05-CV-1380-T-24, 2013 WL
   3804991, at *7 (M.D. Fla. July 19, 2013), aff’d, 787 F.3d 1313 (11th Cir. 2015) (no evidence of
   damages can be a ground for summary judgment); See Fey v. Panacea Mgmt. Grp. LLC, 261 F.



                                                   34
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 35 of 36




   Supp. 3d 1297, 1311 (N.D. Ga. 2017) (granting summary judgment in copyright case based on
   no evidence of actual damages or profits and no attempt to show causal relationship between
   infringement and profits).
          In short, Plaintiffs have provided no evidence of lost sales, no evidence of lost
   opportunities, no evidence of a retroactive licensing fee, no evidence of diminution in value of
   any copyright, and no evidence of any causal connection between alleged infringement and
   NightGarden revenue. This Court can find that, as a matter of law, Plaintiffs are not entitled to
   statutory damages for Counts I and II, Plaintiffs have failed to provide any evidence of actual
   damages for Counts I, II and III and therefore summary judgment is proper.

                                            CONCLUSION

          In sum, the Court should enter summary judgment in favor of Defendants and against
   Plaintiffs on all counts. Plaintiffs cannot demonstrate any DMCA claims because the DMCA
   does not allow recovery for failure to attribute “knock-offs,” because Plaintiffs also do not own
   the NightGarden map or any of the photographs complained about, and because there is
   absolutely no evidence of intent. Plaintiffs cannot demonstrate any copyright claims because
   their works are useful articles that constitute unprotectable shapes, lacking any creativity or
   originality. They also cannot show any factual or legal copying of those works because there are
   no protectable elements to copy, and Plaintiffs are trying to protect ideas. As to the Individual
   Defendants, all three lacked the required knowledge and cannot, as a legal matter, be held
   contributorily liable for their own companies’ conduct. Plaintiffs are not entitled to statutory
   damages and attorney’s fees for their copyright claims, and they also cannot establish actual
   damages for any claim. Summary judgment is proper in favor of Defendants as a matter of law.


   Dated: May 3, 2021.                           Respectfully Submitted,

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                                                    35
Case 1:20-cv-20079-AHS Document 145 Entered on FLSD Docket 05/03/2021 Page 36 of 36




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                                        36
